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__________________________________________________________________
                                           SO ORDERED,



                                          Judge Neil P. Olack
                                          United States Bankruptcy Judge
                                          Date Signed: December 7, 2018

           The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________



                                                                                              NPO
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